                                                          Case: 4:16-cv-00811-JCH Doc. #: 1 Filed: 07/25/15 Page: 1 of 6 PageID #: 1



                                                       BARSHAY SANDERS, PLLC
                                                       100 Garden City Plaza, Suite 500
                                                       Garden City, New York 11530
                                                       Tel: (516) 203-7600
                                                       Fax: (516) 706-5055
                                                       Email: ConsumerRights@BarshaySanders.com
                                                       Attorneys for Plaintiff
                                                       Our File No.: 109376

                                                                                  UNITED STATES DISTRICT COURT
                                                                                     DISTRICT OF COLORADO
                                                                                        DENVER DIVISION



                                                       JOSHUA PAUL TILATITSKY,                                    Docket No:

                                                                             Plaintiff,                           COMPLAINT

                                                                                  vs.
                    100 GARDEN CITY PLAZA, SUITE 500
     PLLC


                     GARDEN CITY, NEW YORK 11530




                                                                                                                  JURY TRIAL DEMANDED
BARSHAY | SANDERS




                                                       MEDICREDIT, INC.,

                                                                            Defendant.


                                                               JOSHUA PAUL TILATITSKY (hereinafter referred to as “Plaintiff”), by and through the
                                                       undersigned counsel, complains, states and alleges against Medicredit, Inc. (hereinafter referred
                                                       to as “Defendant”), as follows:
                                                                                              INTRODUCTION
                                                               1.     This action seeks to recover for violations of the Fair Debt Collection Practices
                                                       Act, 15 U.S.C. § 1692, et seq., (“FDCPA”) and New York General Business Law (“NYGBL”) §
                                                       349.


                                                                                          JURISDICTION AND VENUE
                                                               2.     This Court has federal subject matter jurisdiction pursuant to 28 U.S.C. § 1331
                                                       and 15 U.S.C. § 1692k(d), and jurisdiction over the state law claims pursuant to 28 U.S.C. §
                                                       1367.
                                                               3.     This Court has personal jurisdiction over Defendant because Defendant maintains



                                                                                                      1
                                                           Case: 4:16-cv-00811-JCH Doc. #: 1 Filed: 07/25/15 Page: 2 of 6 PageID #: 2



                                                       its business in Colorado.
                                                               4.       Venue is proper under 28 U.S.C. §1391(b) because Defendant resides in this
                                                       Judicial District.
                                                               5.       At all relevant times, Defendant conducted business within Colorado.


                                                                                                     PARTIES

                                                               6.       Plaintiff is an individual who is a citizen of the State of New York.
                                                               7.       Plaintiff, a “consumer” as defined by 15 U.S.C. § 1692a(3), is allegedly obligated
                                                       to pay a debt.
                                                               8.       On information and belief, Defendant's principal place of business is located in
                                                       Broomfield, Colorado.
                                                               9.       Defendant is regularly engaged, for profit, in the collection of debts allegedly
                                                       owed by consumers.
                    100 GARDEN CITY PLAZA, SUITE 500
     PLLC


                     GARDEN CITY, NEW YORK 11530




                                                               10.      Defendant is a person who uses an instrumentality of interstate commerce or the
BARSHAY | SANDERS




                                                       mails in a business the principal purpose of which is the collection of debts, or who regularly
                                                       collects or attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or
                                                       due another, and is therefore a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                                                                                                 ALLEGATIONS

                                                               11.      Plaintiff's alleged debt was primarily for personal, family or household purposes
                                                       and is therefore a “debt” as defined by 15 U.S.C. § 1692a(5).
                                                               12.      Sometime after the incurrence of the debt, but before the initiation of this action,
                                                       Plaintiff is alleged to have fallen behind on payments allegedly owed on the alleged debt.
                                                               13.      At a time known only to Defendant, Plaintiff's alleged debt was assigned or
                                                       otherwise transferred to Defendant for collection.
                                                               14.      In its efforts to collect the alleged debt, Defendant contacted Plaintiff by written
                                                       correspondence annexed hereto as “Exhibit 1.”
                                                               15.      Defendant's written correspondence to Plaintiff is a “communication” as defined
                                                       by 15 U.S.C. § 1692a(2).
                                                               16.      As set forth in the following Counts, Defendant's communication violated the
                                                       FDCPA and NYGBL.


                                                                                                          2
                                                           Case: 4:16-cv-00811-JCH Doc. #: 1 Filed: 07/25/15 Page: 3 of 6 PageID #: 3



                                                                                                 FIRST COUNT
                                                                                          Violation of 15 U.S.C. § 1692g
                                                                                               Validation of Debts

                                                               17.    Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                               18.    15 U.S.C. § 1692g provides that within five days after the initial communication
                                                       with a consumer in connection with the collection of any debt, a debt collector shall, unless the
                                                       information is contained in the initial communication or the consumer has paid the debt, send the
                                                       consumer a written notice containing certain enumerated information.
                                                               19.    The written notice must contain the amount of the debt.
                                                               20.    The written notice must contain the name of the creditor to whom the debt is
                                                       owed.
                                                               21.    The written notice must contain a statement that unless the consumer, within
                                                       thirty days after receipt of the notice, disputes the validity of the debt, or any portion thereof, the
                                                       debt will be assumed to be valid by the debt collector.
                    100 GARDEN CITY PLAZA, SUITE 500
     PLLC


                     GARDEN CITY, NEW YORK 11530




                                                               22.    The written notice must contain a statement that if the consumer notifies the debt
BARSHAY | SANDERS




                                                       collector in writing within the thirty-day period that the debt, or any portion thereof, is disputed,
                                                       the debt collector will obtain verification of the debt or a copy of a judgment against the
                                                       consumer and a copy of such verification or judgment will be mailed to the consumer by the debt
                                                       collector.
                                                               23.    The written notice must contain a statement that, upon the consumer's written
                                                       request within the thirty-day period, the debt collector will provide the consumer with the name
                                                       and address of the original creditor, if different from the current creditor.
                                                               24.    A debt collector has the obligation, not just to convey the required information,
                                                       but also to convey such clearly.
                                                               25.    Even if a debt collector conveys the required information accurately, the debt
                                                       collector nonetheless violates the FDCPA if that information is overshadowed or contradicted by
                                                       other language in the communication.
                                                               26.    Even if a debt collector conveys the required information accurately, the debt
                                                       collector nonetheless violates the FDCPA if that information is overshadowed by other collection
                                                       activities during the 30-day validation period following the communication.




                                                                                                         3
                                                           Case: 4:16-cv-00811-JCH Doc. #: 1 Filed: 07/25/15 Page: 4 of 6 PageID #: 4



                                                                27.     A collection activity or communication overshadows or contradicts the validation
                                                       notice if it would make the “unsophisticated consumer” uncertain or confused as to her rights.
                                                                28.     Defendant’s letter states, “This is to inform you that Cartersville Medical Center has
                                                       placed your account with this agency with the full intention of collecting this account.”
                                                                29.     Defendant’s letter states, “Please give this past due account the attention it
                                                       deserves.”
                                                                30.     Defendant’s letter gives Plaintiff two options.
                                                                31.     Defendant’s letter states, “Please either: 1. Remit payment in full to this office or,
                                                       2. Contact this office by telephone to arrange resolution of the account.
                                                                32.     Conspicuously absent from the provided options is the Plaintiff’s right not to
                                                       make payment or call Defendant, but to dispute the debt or demand validation of the debt as
                                                       provided by 15 U.S.C. § 1692g.
                                                                33.     The letter contains no transitional language explaining that the “options” do not
                                                       override Plaintiff’s right to dispute the debt or seek validation of the alleged debt, as set forth at
                    100 GARDEN CITY PLAZA, SUITE 500
     PLLC


                     GARDEN CITY, NEW YORK 11530
BARSHAY | SANDERS




                                                       the bottom of the letter.
                                                                34.     The “options” provided contradict the required disclosures.
                                                                35.     The “options” provided overshadow the required disclosures.
                                                                36.     The “options” provided would make the unsophisticated consumer uncertain or
                                                       confused as to her rights.
                                                                37.     Defendant's conduct would likely make the unsophisticated consumer uncertain as
                                                       to her rights.
                                                                38.     Defendant's conduct would likely make the unsophisticated consumer confused as
                                                       to her rights.
                                                                39.     Defendant has violated § 1692g as the above-referenced language overshadows
                                                       the information required to be provided by that Section.

                                                                                                SECOND COUNT
                                                                                          Violation of 15 U.S.C. § 1692e
                                                                                       False or Misleading Representations

                                                                40.     Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                                41.     15 U.S.C. § 1692e prohibits a debt collector from using any false, deceptive, or
                                                       misleading representation or means in connection with the collection of any debt.


                                                                                                          4
                                                           Case: 4:16-cv-00811-JCH Doc. #: 1 Filed: 07/25/15 Page: 5 of 6 PageID #: 5



                                                               42.     While § 1692e specifically prohibits certain practices, the list is non-exhaustive,
                                                       and does not preclude a claim of falsity or deception based on non-enumerated practice.
                                                               43.     Collection notices are deceptive if they can be reasonably read to have two or
                                                       more different meanings, one of which is inaccurate.
                                                               44.     The question of whether a collection letter is deceptive is determined from the
                                                       perspective of the “unsophisticated consumer.”
                                                               45.     Because the collection letter in the instant case was reasonably susceptible to an
                                                       inaccurate reading, as described above, it is deceptive within the meaning of the FDCPA.
                                                               46.     The unsophisticated consumer would likely be deceived by Defendant's conduct.
                                                               47.     The unsophisticated consumer would likely be deceived in a material way by
                                                       Defendant's conduct.
                                                               48.     Defendant has violated § 1692e by using a false, deceptive and misleading
                                                       representation in its attempt to collect a debt.
                    100 GARDEN CITY PLAZA, SUITE 500
     PLLC


                     GARDEN CITY, NEW YORK 11530




                                                                                               THIRD COUNT
BARSHAY | SANDERS




                                                                              Violation of New York General Business Law § 349

                                                               49.     Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                               50.     Defendant owed a duty to Plaintiff to effect its collection of Plaintiff's alleged
                                                       debt with reasonable care.
                                                               51.     Defendant's conduct as described herein shows a lack of exercise of reasonable
                                                       care in Defendant's collection of the alleged debt.
                                                               52.     Defendant breached its duty to collect Plaintiff's alleged debt with reasonable
                                                       care.
                                                               53.     Defendant's conduct was committed by Defendant in the conduct of a business,
                                                       trade or commerce or the furnishing of a service in New York State and constitutes a violation of
                                                       NY GBL § 349(a).
                                                               54.     Defendant's conduct was consumer-orientated in that the letter was sent in an
                                                       effort to collect an alleged consumer debt.
                                                               55.     Defendant's conduct has a broader impact on consumers at large as, upon
                                                       information and belief, Defendant has sent the subject form letter to hundreds of consumers.
                                                               56.     Plaintiff is a reasonable consumer.



                                                                                                          5
                                                          Case: 4:16-cv-00811-JCH Doc. #: 1 Filed: 07/25/15 Page: 6 of 6 PageID #: 6



                                                              57.      Defendant's conduct would mislead a reasonable consumer.
                                                              58.      Defendant engaged in a material deceptive act or practice as described herein.
                                                              59.      Defendant's conduct caused plaintiff to suffer injury.
                                                              60.      Defendant violated NY GBL § 349(a) and is liable to Plaintiff pursuant to NY
                                                       GBL § 349(h).
                                                                                                JURY DEMAND

                                                              61.      Plaintiff hereby demands a trial of this action by jury.

                                                                                            PRAYER FOR RELIEF
                                                             WHEREFORE, Plaintiff respectfully requests judgment as follows:
                                                                a.        Statutory damages against Defendant pursuant to 15 U.S.C. § 1692k of
                                                                          $1,000.00; and
                                                                b.        Plaintiff's attorneys' fees pursuant to 15 U.S.C. § 1692k; and
                    100 GARDEN CITY PLAZA, SUITE 500
     PLLC


                     GARDEN CITY, NEW YORK 11530




                                                                c.        Plaintiff's actual damages; and
BARSHAY | SANDERS




                                                                d.        Damages against Defendant pursuant to NYGBL § 349; and
                                                                e.        Plaintiff's costs; together with
                                                                f.        Such other relief that the Court determines is just and proper.


                                                       DATED: July 24, 2015

                                                                                                      BARSHAY SANDERS, PLLC

                                                                                                      By: _/s/ Craig B. Sanders ____________
                                                                                                      BARSHAY SANDERS, PLLC
                                                                                                      100 Garden City Plaza, Suite 500
                                                                                                      Garden City, New York 11530
                                                                                                      Tel: (516) 203-7600
                                                                                                      Fax: (516) 706-5055
                                                                                                      csanders@barshaysanders.com
                                                                                                      Attorneys for Plaintiff
                                                                                                      Our File No.: 109376




                                                                                                         6
